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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

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MALIBU MEDIA, LLC,                                  Hon. William J. Martini, U.S.D.J.

                                         Plaintiff, Case No. 2:17-cv-01321-WJM-MF

                       vs.                                        CIVIL ACTION

TIM McMANUS and GREENWOOD                                  CERTIFICATION OF
DIGITAL, LLC,                                                TIM McMANUS
                                     Defendants.

       1.       I, Tim McManus, am a defendant in the above captioned matter and have personal

knowledge of the facts contained herein.

       2.      One of my students at Fordham University alerted me that a Google search of the

terms “Tim McManus Greenwood Digital” returns a link to Malibu Media’s false accusations

against me. It is a challenge explaining to the students that I did not download the titles outlined in

the plaintiff’s Complaint. These accusations have harmed my reputation since I cannot say (yet) that

I won a favorable judgement in the case.

       3.      The company that I own, Greenwood Digital, LLC (the other defendant in the case),

works with enterprise and government data. Any question regarding Greenwood Digital’s handling

of data has significant and lasting impact on the company’s and my personal reputation. The

plaintiff’s accusations and this case bring into question Greenwood Digital’s handling of plaintiff’s

copyrighted materials, which are data.
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